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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO


   Civil Case No.: 18-CV-02658-WJM-SKC
   GIROLAMO FRANCESCO MESSERI,
                                   Plaintiff,
                           v.
   UNIVERSITY OF COLORADO, BOULDER (through its Board, the Regents of the
   University of Colorado, a body corporate), PHILIP P. DISTEFANO, individually and in his
   official capacity as Chancellor of the University of Colorado, Boulder, VALERIE SIMONS,
   individually, REGINA TIRELLA, individually, JESSICA POLINI, individually, LAUREN
   HASSELBACHER, individually, CAROLE CAPSALIS, individually, JOHN THOMAS
   GALLOWAY, individually, and AGNIESZKA LYNCH, individually.


                                   Defendants.

     DECLARATION OF ANDREW T. MILTENBERG, ESQ. IN SUPPORT OF MOTION
                      TO BE RELIEVED AS COUNSEL


                    ANDREW T. MILTENBERG, hereby declares subject to the penalties of perjury

   pursuant to 28 U.S.C. § 1746:

           1.       I am a Member of the law firm of Nesenoff & Miltenberg, LLP (the “Firm”),

   counsel for Plaintiff Girolamo Messeri (“Plaintiff”) in the above-captioned action and, as such, I

   am fully familiar with the facts and circumstances set forth herein.

           2.       I submit this declaration in support of the Firm’s motion to be relieved as counsel

   for Plaintiff.

           3.       Plaintiff owes the firm a total of $61,979.12. The outstanding balance dates as far

   back as November 2018, for work performed in October 2018. Plaintiff’s father has assumed

   responsibility for payment of Plaintiff’s legal fees, costs and disbursements. A copy of the client
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   ledger is attached as Exhibit 1.

           4.     Plaintiff’s father first promised to pay the then-outstanding balance on January 24,

   2019.

           5.     On February 15, 2019, Plaintiff’s father informed me that he would be sending a

   partial payment of the bill then due and owing and would make two additional payments in the

   near future. He promised to let my billing manager know when he planned to send the payments

   for the remaining balance.

           6.     On February 21, 2019, after the first partial payment had not yet been received, my

   billing manager reached out to Plaintiff’s father once again and asked when payment would be

   received. He promised to send two payments by wire transfer of $5,000 each and pay the remaining

   balance when he was able.

           7.     On March 15, 2019, Plaintiff’s father informed me that he intended to make a wire

   transfer of $20,000 to the Firm.

           8.     After no payments, partial or otherwise, had been received towards the growing

   balance, my billing manager reached out to Plaintiff’s father and once again asked when the Firm

   could expect any of the previously promised payments. He told her that the first payment—

   originally promised on February 15, 2019—would be received the following week,

           9.     Despite the lack of payment, the Firm continued to conduct certain necessary work

   on the matter in order to keep the case moving forward, such as serving subpoenas and discovery

   requests, and communicating with Defendants’ counsel in regard to deposition scheduling and

   discovery issues.

           10.    On March 25, 2019, Plaintiff’s father was notified that the Firm would have to stop

   work on the matter until all promised payments were received. No payments were received.



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          11.     On April 4, 2019, I informed Plaintiff’s father that if Plaintiff’s account was not

   brought current by April 10, 2019, the Firm would make an application to the Court to be relieved

   as counsel due to nonpayment.

          12.     On April 5, 2019, Plaintiff’s father asked for one more week, or until April 18,

   2019, to which I agreed. On April 18, 2019, he told me that payment would be received by April

   23, 2019.

          13.     Despite the lack of payment, the Firm continued to take necessary steps such as

   conferring with opposing counsel on discovery issues and submitting the status report due on April

   19, 2019.

          14.     To date, no payments have been received. Plaintiff’s father, unfortunately. The

   balance on Plaintiff’s account is substantial and, at this point, the matter has become irreconcilable.

   The repeated promises, and subsequent failures to send even a partial payment has undercut the

   attorney-client relationship.

          15.     As discovery now proceeds to document production and depositions, significant

   time and expenses will accrue. The Firm cannot outlay the requisite time and costs while carrying

   such a large balance for work already performed. It would be an unreasonable financial burden on

   the Firm to have to continue in this matter without getting paid, especially since we are unable to

   communicate in a meaningful way with our client about payment of the outstanding fees. That the

   attorney-client relationship has deteriorated in this way, despite all efforts to avoid making this

   motion, is surely disappointing.

          16.     At this point in the litigation, with a pending motion to dismiss and the bulk of

   discovery--and all depositions--yet to occur, Plaintiff would suffer no material, adverse

   consequences as a result of the Firm’s withdrawal.



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          17.     No prior application has been made for the relief sought herein.

          I declare under penalty of perjury under the laws of the United States of America that the

   foregoing is true and correct.

          Executed on the 1st day of May 2019.
                                                               s/ Andrew T. Miltenberg
                                                               Andrew T. Miltenberg




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